
PER CURIAM.
Arriving in court no more than 22 minutes after his case was called, petitioner’s bond was revoked and he was taken into custody. At a bond hearing three days later, the circuit judge determined that no condition of bond could assure the court that petitioner would either commit no new offenses or appear in court in this case. The record does not support the court’s findings. The determination was based in part on a criminal charge in Dade County that occurred prior to the criminal incident in this case. Petitioner had not previously failed to appear or been tardy for a court appearance in this case. We grant the petition and remand to the circuit court to impose conditions of release. See Art. I, § 14, Fla. Const.
GROSS, CIKLIN and CONNER, JJ., concur.
